              Case 8:23-bk-10571-SC                   Doc 33 Filed 04/04/23 Entered 04/04/23 06:51:02                                Desc
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Fill in this information to identify your case: 

Debtor Name      The Litigation Practice Group P.C.

United States Bankruptcy Court for the: Central District of California                                                          Check if this is an
                                                                                                                                   amended filing
Case number (If known):




Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                   12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no
book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases.
Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet
is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule
or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor s interest, do
not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:    Cash and cash equivalents

1.   Does the debtor have any cash or cash equivalents?
      No. Go to Part 2.
      Yes. Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                       Current alue of debtor s
                                                                                                                           interest


2.   Cash on hand                                                                                                          $                        0.00

3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
     Name of institution (bank or brokerage firm)        Type of account                 Last 4 digits of account number

     3.1     Union Bank                                  Checking Account                                                  $                 4,500.00


4.   Other cash equivalents (Identify all)

     4.1     Funds held by payment processor - Marich Bein                                                                 $          12,000,000.00



5.   Total of Part 1
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                        $          12,004,500.00




Official Form 206A/B                                                Schedule A/B: Property                                                 page 1 of 10
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                Name



Part 2:    Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?
      No. Go to Part 3.
      Yes. Fill in the information below.
                                                                                                                          Current alue of debtor s
                                                                                                                          interest

7.   Deposits, including security deposits and utility deposits
     Description, including name of holder of deposit



8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
     Description, including name of holder of prepayment



9.   Total of Part 2
     Add lines 7 through 8. Copy the total to line 81.                                                                    $               62,000.00



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?
      No. Go to Part 4.
      Yes. Fill in the information below.
                                                                                                                          Current alue of debtor s
                                                                                                                          interest

11. Accounts receivable

     11a. 90 days old or less:                           120,000,000.00                                        0.00   =   $          120,000,000.00
                                              face amount                     doubtful or uncollectible accounts



     11b. Over 90 days old:                                           0.00                                     0.00   =   $                     0.00
                                              face amount                     doubtful or uncollectible accounts



12. Total of Part 3
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                               $         120,000,000.00




Official Form 206A/B                               Schedule A/B: Property  Real and Personal Property                                   page 2 of 10
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                Name



Part 4:   Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                             Valuation method used   Current alue of debtor s
                                                                                             for current value       interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:



15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture
    Name of entity:                                                  % of ownership:



16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:




17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.                                                              $                     0.00




Part 5:   Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
      General description              Date of the last           Net book value of          Valuation method used   Current alue of debtor s
                                       physical inventory         debtor's interest          for current value       interest
                                                                  (Where available)

19. Raw materials




20. Work in progress



21. Finished goods, including goods held for resale



22. Other inventory or supplies




Official Form 206A/B                              Schedule A/B: Property  Real and Personal Property                               page 3 of 10
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               Name




23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.                                                                            $                      0.00


24. Is any of the property listed in Part 5 perishable?
     No
     Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes.
              Book value      $                     0.00 Valuation method                                  Current Value   $                   0.00



26 Has any of the property listed in Part 5 been appraised by a professional within the last year?
    No
     Yes


Part 6:   Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                            Net book value of            Valuation method used            Current alue of debtor s
                                                                     debtor's interest            for current value                interest
                                                                     (Where available)

28. Crops either planted or harvested


                                                                     $              0.00                                       $                           0.00



29. Farm animals Examples: Livestock, poultry, farm-raised fish


                                                                     $              0.00                                       $                           0.00



30. Farm machinery and equipment (Other than titled motor vehicles)


                                                                      $             0.00                                       $                           0.00



31. Farm and fishing supplies, chemicals, and feed


                                                                      $             0.00                                       $                           0.00




Official Form 206A/B                                 Schedule A/B: Property  Real and Personal Property                                         page 4 of 10
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               Name



32. Other farming and fishing-related property not already listed in Part 6


                                                                     $               0.00                                           $                            0.00



33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.                                                                                  $                         0.00


34. Is the debtor a member of an agricultural cooperative?
     No
     Ye . I an of he deb or         proper     ored a he coopera i e?
       No
       Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes
              Book value      $                     0.00 Valuation method                                   Current Value   $                        0.00



36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes



Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
     No. Go to Part 8.
     Yes. Fill in the information below.
      General description                                            Net book value of          Valuation method used                   Current alue of debtor s
                                                                     debtor's interest          for current value                       interest
                                                                     (Where available)

39. Office furniture

    Office furniture                                                     $         0.00                                         $                       Unknown



40. Office fixtures

                                                                         $          0.00                                        $                               0.00




Official Form 206A/B                                 Schedule A/B: Property  Real and Personal Property                                               page 5 of 10
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                Name



41. Office equipment, including all computer equipment and
    communication systems equipment and software

     Misc. computers, monitors, cubicles, TV's,
     office supplies                                                        $             0.00                                  $                   Unknown



42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

                                                                            $             0.00                                  $                         0.00



43. Total of Part 7.
     Add lines 38 through 42. Copy the total to line 86.                                                                            $                     0.00


44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
      Yes

45 Has any of the property listed in Part 7 been appraised by a professional within the last year?
    No
      Yes



Part 8:     Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?
      No. Go to Part 9.
      Yes. Fill in the information below.

       General description                                                  Net book value of           Valuation method used       Current alue of debtor s
                                                                            debtor's interest           for current value           interest
       Include year, make, model, and identification numbers (i.e.,
       VIN, HIN, or N-number)                                               (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
                                                                            $             0.00                                  $                         0.00



48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
    floating homes, personal watercraft, and fishing vessels

                                                                            $             0.00                                  $                         0.00



49. Aircraft and accessories

                                                                            $             0.00                                  $                         0.00




Official Form 206A/B                                  Schedule A/B: Property  Real and Personal Property                                          page 6 of 10
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50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)
                                                                           $              0.00                                    $                           0.00



51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.                                                                               $                       0.00


52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes


Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

      Description and location of                   Nature and extent          Net book value of          Valuation method used           Current value of
      property                                      of debtor s interest       debtor's interest          for current value               debtor s interest
      Include street address or other description   in property                (Where available)
      such as Assessor Parcel Number (APN),
      and type of property (for example,
      acreage, factory, warehouse, apartment or
      office building), if available.




56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.               $                       0.00


57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                                   Schedule A/B: Property  Real and Personal Property                                             page 7 of 10
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               Name



Part 10:   Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
     Yes. Fill in the information below.
      General description                                           Net book value of           Valuation method used       Current alue of debtor s
                                                                    debtor's interest           for current value           interest
                                                                    (Where available)

60. Patents, copyrights, trademarks, and trade secrets
                                                                     $           0.00                                   $                         0.00



61. Internet domain names and websites
                                                                     $           0.00                                   $                         0.00



62. Licenses, franchises, and royalties
                                                                     $           0.00                                   $                         0.00



63. Customer lists, mailing lists, or other compilations
    Customer leads                                                   $           0.00                                   $                  120,000.00



64. Other intangibles, or intellectual property
                                                                     $           0.00                                   $                         0.00



65. Goodwill
                                                                     $           0.00                                   $                         0.00



66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.                                                                     $              120,000.00


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                                 Schedule A/B: Property  Real and Personal Property                                   page 8 of 10
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                  Name



Part         All other assets
11:

70. Does the debtor own any other assets that have not yet been reported on this form?
       Include all interests in executory contracts and unexpired leases not previously reported on this form.
        No. Go to Part 12.
        Yes. Fill in the information below.
                                                                                                                             Current alue of debtor s
                                                                                                                             interest

71. Notes receivable
       Description (include name of obligor)

                                                                       0.00                                         0.00 =   $                      0.00
                                                   Total face amount              doubtful or uncollectible accounts



72. Tax refunds and unused net operating losses (NOLs)
       Description (for example, federal, state, local)

                                                                                        Tax Year                             $                      0.00



73. Interests in insurance policies or annuities

                                                                                                                             $                      0.00



74. Causes of action against third parties (whether or not a lawsuit has been filed)

                                                                                                                             $                      0.00
       Nature of claim

       Amount requested                        $                       0.00


75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of
    the debtor and rights to set off claims

                                                                                                                             $                      0.00
       Nature of claim
       Amount requested                        $                       0.00


76. Trusts, equitable or future interests in property

                                                                                                                             $                      0.00



77. Other property of any kind not already listed Examples: Season tickets, country club membership

                                                                                                                             $                      0.00




Official Form 206A/B                                    Schedule A/B: Property  Real and Personal Property                                 page 9 of 10
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                   Name




78. Total of Part 11.
     Add lines 71 through 77. Copy the total to line 90.                                                                                                      $                     0.00

79   Has any of the property listed in Part 11 been appraised by a professional within the last year?
      No
      Yes




Part 12:       Summary


In Part 12 copy all of the totals from the earlier parts of the form.

         Type of property                                                                              Current value of                      Current value of
                                                                                                       personal property                     real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                               $      12,004,500.00

  81. Deposits and prepayments. Copy line 9, Part 2.                                                   $            62,000.00

  82. Accounts receivable. Copy line 12, Part 3.                                                       $    120,000,000.00

  83. Investments. Copy line 17, Part 4.                                                               $                     0.00

  84 Inventory. Copy line 23, Part 5.                                                                  $                     0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                        $                     0.00

  86. Office furniture, fixtures, and equipment; and collectibles.
      Copy line 43, Part 7.                                                                            $                     0.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                        $                     0.00


  88. Real property. Copy line 56, Part 9. ................................................................................... Î              $                   0.00


  89. Intangibles and intellectual property. Copy line 66, Part 10.                                    $           120,000.00


  90. All other assets. Copy line 78, Part 11.                                                  + $                          0.00


  91. Total. Add lines 80 through 90 for each column...................... 91a.                        $    132,186,500.00           + 91b. $                     0.00




  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ........................................................................................          $    132,186,500.00




Official Form 206A/B                                           Schedule A/B: Property  Real and Personal Property                                                          page 10 of 10
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Fill in this information to identify your case: 

Debtor Name        The Litigation Practice Group P.C.

United States Bankruptcy Court for the: Central District of California                                                                       Check if this is an
                                                                                                                                                amended filing
Case number (If known):



Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15

Be as complete and accurate as possible


1.    Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.

Part 1:      List Creditors Who Have Secured Claims

                                                                                                                     Column A                   Column B
2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than                  Amount of claim            Value of collateral
      one secured claim, list the creditor separately for each claim.                                                Do not deduct the          that supports this
                                                                                                                     value of collateral.       claim

2.1       Creditor s Name                                            Describe debtor s propert that is
                                                                     subject to a lien
          Diverse Capital LLC                                                                                    $         1,224,810.00 $                        0.00

          Creditor s mailing address
          323 Sunny Isles Blvd, Ste 503
          Sunny Isles, FL 33154

          Creditor s email address, if kno n                         Describe the lien                               Description
                                                                                                                      Breach of Settlement Agreement

          Date debt was incurred                                     Is the creditor an insider or related party?
                                                                      No
          Last 4 digits of account number
                                                                      Yes
          Do multiple creditors have an interest in the same         Is anyone else liable on this claim?
          property?
                                                                      No
           No
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
           Yes. Have you already specified the relative priority?
              No. Specify each creditor, including this             As of the petition filing date, the claim is:
                      creditor, and its relative priority.           Check all that apply.
                                                                      Contingent
              Yes. The relative priority of creditors is             Unliquidated
                      specified on lines
                                                                      Disputed




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 3
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                Name



2.2      Creditor s Name                                            Describe debtor s propert that is
                                                                    subject to a lien
         City Capital NY                                                                                        $         2,950,000.00 $               1.00

         Creditor s mailing address
         1135 Kane Concourse
         Bay Harbour Islands, FL 33154

         Creditor s email address, if kno n                         Describe the lien                               Description
                                                                                                                     Breach of Contract

         Date debt was incurred                                     Is the creditor an insider or related party?
                                                                     No
         Last 4 digits of account number
                                                                     Yes
         Do multiple creditors have an interest in the same         Is anyone else liable on this claim?
         property?
                                                                     No
          No
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          Yes. Have you already specified the relative priority?
             No. Specify each creditor, including this             As of the petition filing date, the claim is:
                       creditor, and its relative priority.         Check all that apply.
                                                                     Contingent
             Yes. The relative priority of creditors is             Unliquidated
                       specified on lines
                                                                     Disputed

2.3      Creditor s Name                                            Describe debtor s propert that is
                                                                    subject to a lien
         Fundura Capital Group                                                                                  $         2,100,000.00 $               1.00

         Creditor s mailing address
         80 Broad Street, Ste 3303
         New York, NY 10004

         Creditor s email address, if kno n                         Describe the lien                               Description
                                                                                                                     Breach of Contract claim

         Date debt was incurred                                     Is the creditor an insider or related party?
                                                                     No
         Last 4 digits of account number
                                                                     Yes
         Do multiple creditors have an interest in the same         Is anyone else liable on this claim?
         property?
                                                                     No
          No
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          Yes. Have you already specified the relative priority?
             No. Specify each creditor, including this             As of the petition filing date, the claim is:
                       creditor, and its relative priority.         Check all that apply.
                                                                     Contingent
             Yes. The relative priority of creditors is             Unliquidated
                       specified on lines
                                                                     Disputed




 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any                          $   6,274,810.00




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
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              Name



Part 2:   List Others to Be Notified for a Debt That You Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and Address                                                                                           On which line in Part 1       Last 4 digits of
                                                                                                           did you enter the             account number
                                                                                                           related creditor?             for this entity




Official Form 206D                          Schedule D: Creditors Who Have Claims Secured by Property                                           page 3 of 3
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Fill in this information to identify your case: 

Debtor            The Litigation Practice Group P.C.

United States Bankruptcy Court for the: Central District of California                                                                   Check if this is an
                                                                                                                                              amended filing
Case number (If known):



Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official
Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the
Additional Page of that Part included in this form.

Part 1:     List All Creditors with PRIORITY Unsecured Claims

1.       Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.
2.       List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3
         creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1
                                                                                                              Total Claim                 Priority Amount

2.1       Priorit creditor s name and mailing address          As of the petition filing date, the claim is:
                                                               Check all that apply.
                                                                                                               $             5,639.24     $              5,639.24
          Indiana Dept of Revenue                                  Contingent
                                                                   Unliquidated
           PO Box 1028
                                                                   Disputed
          INDIANAPOLIS, IN 46206

          Date or dates debt was incurred                      Basis for the claim:




          Last 4 digits of account number                      Is the claim subject to offset?                     Description
                                                                No
          Specify Code subsection of PRIORITY                   Yes                                                Withholding Tax
          unsecured claim: 11 U.S.C. § 507(a) (           )




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                               page 1 of 25
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              Name



2.2      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                                                                           $                 190.05   $            190.05
         Dept of Labor and Industries                          Contingent
                                                               Unliquidated
         PO Box 34022
                                                               Disputed
         Seattle, WA 98124

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number 4900              Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Ins tax
         unsecured claim: 11 U.S.C. § 507(a) (         )


2.3      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.                                              35.00                 35.00
                                                                                                           $                          $
         Arizona Dept of Economic Security                     Contingent
                                                               Unliquidated
         PO Box 6028
                                                               Disputed
         Phoenix, AZ 85005

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )


2.4      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                                                                           $              6,357.40    $          6,357.40
         Arkansas Dept of Finance & Admin                      Contingent
                                                               Unliquidated
         PO Box 9941, Little Rock, AR 72203-
         9941
                                                               Disputed

         Little Rock, AR 72203

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )




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2.5      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                                                                           $           346,480.39   $      346,480.39
         California Franchise Tax Board                        Contingent
                                                               Unliquidated
         PO Box 942857
                                                               Disputed
         Sacramento, CA 94257

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )


2.6      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.                                         2,350.85              2,350.85
                                                                                                           $                        $
         Georgia Dept of Labor                                 Contingent
                                                               Unliquidated
         148 Andrew Young International Blvd,
         NE, Suite 752
                                                               Disputed

         Atlanta, GA 30303

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )


2.7      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                                                                           $             9,025.99   $          9,025.99
         Internal Revenue Service (IRS)                        Contingent
                                                               Unliquidated
         Internal Revenue Service
                                                               Disputed
         Ogden, UT 84201

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )




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2.8      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                                                                           $                 393.69   $            393.69
         Mississippi Dept of Revenue                           Contingent
                                                               Unliquidated
         PO Box 23075
                                                               Disputed
         Jackson, MS 39225

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )


2.9      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.                                         3,262.49                3,262.49
                                                                                                           $                          $
         Nevada Dept of Taxation                               Contingent
                                                               Unliquidated
         1550 College Parkway, Suite 115
                                                               Disputed
         Carson City, NV 89706

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )


2.10     Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                                                                           $                 212.82   $            212.82
         Utah State Tax Commission                             Contingent
                                                               Unliquidated
         210 N 1950 W
                                                               Disputed
         Salt Lake City, UT 84134

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )




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2.11       Priorit creditor s name and mailing address          As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                                                                $                 112.12     $               112.12
           Wisconsin Dept of Revenue                                Contingent
                                                                    Unliquidated
           PO Box 8901
                                                                    Disputed
           Madison, WI 53708

           Date or dates debt was incurred                      Basis for the claim:




           Last 4 digits of account number                      Is the claim subject to offset?                     Description
                                                                 No
           Specify Code subsection of PRIORITY                   Yes                                                Tax
           unsecured claim: 11 U.S.C. § 507(a) (           )




Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

3.        List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
          claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                Amount of claim

3.1        Nonpriorit creditor s name and mailing address                      As of the petition filing date, the claim is:
                                                                               Check all that apply.
                                                                                                                                  $                        14,472.33
           Ajilon                                                                  Contingent
                                                                                   Unliquidated
           Lockbox: Dept CH 14031                                                  Disputed

           Palatine, IL 60055

           Date or dates debt was incurred                                     Basis for the claim:                                   Description

                                                                                                                                      Staffing Services


           Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




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3.2      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        201,869.92
         Anthem Blue Cross                                            Contingent
                                                                      Unliquidated
         PO Box 511300                                                Disputed

         Los Angeles, CA 90051

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Insurance

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.3      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                        187,956.90
         Azevedo Solutions Groups, Inc                                Contingent
                                                                      Unliquidated
         420 Adobe Canyon Rd                                          Disputed

         Kenwood, CA 95452

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      IT Vendor

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.4      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      6,174.87
                                                                                                                  $
         Carolina Technologies & Consulting Invoice                   Contingent
                                                                      Unliquidated
         1854 Hendersonville Road, Suite A                            Disputed
         PMB #178

         Asheville, NC 28803

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      IT Vendor


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.5      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        219,533.80
         Collaboration Advisors                                       Contingent
                                                                      Unliquidated
         400 Dorla Court                                              Disputed

         Zephyr Cove, NV 89448

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Broker - marketing
                                                                                                                      affiliates
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.6      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                         98,502.00
         Credit Reporting Service Inc                                 Contingent
                                                                      Unliquidated
         548 Market St, Suite 72907                                   Disputed

         San Francisco, CA 94104

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Credit reporting platform

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.7      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                       374.00
                                                                                                                  $
         CT Corporation - Inv                                         Contingent
                                                                      Unliquidated
         PO Box 4349                                                  Disputed

         Carol Stream, IL 80107

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Agent for service of
                                                                                                                      process
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.8      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        162,500.00
         Debt Pay Pro                                                 Contingent
                                                                      Unliquidated
         1900 E Golf Road, Suite 550                                  Disputed

         Schaumburg, IL 60173

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      CRM

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.9      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                         90,570.08
         Document Fulfillment Services                                Contingent
                                                                      Unliquidated
         2930 Ramona Ave #100                                         Disputed

         Sacramento, CA 95826

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Mail vendor

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.10     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      7,842.00
                                                                                                                  $
         EnergyCare, LLC                                              Contingent
                                                                      Unliquidated
         2925 N. Green Valley Parkway                                 Disputed
         Suite C

         Henderson, NV 89014

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Offshore call center


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.11     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        130,773.51
         Exela Enterprise Solutions                                   Contingent
                                                                      Unliquidated
         2701 E. Grauwyler Road                                       Disputed

         Irving, TX 75061

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Mail vendor

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.12     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                         21,557.13
         First Legal Network, LLC                                     Contingent
                                                                      Unliquidated
         PO Box 743451                                                Disputed

         Los Angeles, CA 90074

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Online filing platform

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.13     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      7,861.98
                                                                                                                  $
         GHA Technologies Inc                                         Contingent
                                                                      Unliquidated
         Dept #2090                                                   Disputed
         PO Box 29661

         Phoenix, AZ 85038

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Computer sales


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.14     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                          455.00
         Harrington Electric Inc                                      Contingent
                                                                      Unliquidated
         PO Box 886                                                   Disputed

         Skyland, NC 28776

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Utility repair company

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.15     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                        1,010.00
         Imagine Reporting                                            Contingent
                                                                      Unliquidated
         1350 Columbia Street                                         Disputed
         Suite 703

         San Diego, CA 92103

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Document copying
                                                                                                                      vendor
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.16     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        8,107.11
         Juize, Inc                                                   Contingent
                                                                      Unliquidated
         PO Box 505                                                   Disputed

         Murrieta, CA 92562

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Appliance lease


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.17     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                         1,939.09
         Krisp Technologies, Inc                                      Contingent
                                                                      Unliquidated
         2150 Shattuck Ave                                            Disputed
         Penthouse 1300

         Berkeley, CA 94704

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Software vendor


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.18     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        13,325.68
         Liberty Mutual                                               Contingent
                                                                      Unliquidated
         PO Box 91013                                                 Disputed

         Chicago, IL 60680

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Insurance

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.19     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                         3,225.83
         Marc Lemauviel - Allegra                                     Contingent
                                                                      Unliquidated
         326 MacNeil Way                                              Disputed

         Weaverville, NC 28787

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Interior designer


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.20     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                          4,980.65
         MarkSYS Holdings, LLC                                        Contingent
                                                                      Unliquidated
         3725 Cincinnati Ave                                          Disputed
         Suite 200

         Rocklin, CA 95765

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Mail vendor


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.21     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        101,320.10
         Netsuite-Oracle                                              Contingent
                                                                      Unliquidated
         2300 Oracle Way                                              Disputed

         Austin, TX 78741

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Bookkeeping software

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.22     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                          1,091.89
         Pitney Bowes                                                 Contingent
                                                                      Unliquidated
         PO Box 981026                                                Disputed

         Boston, MA 02298

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Mail meter vendor


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.23     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        2,495.00
         Rapid Credit Inc                                             Contingent
                                                                      Unliquidated
         3558 Round Barn Blvd                                         Disputed
         Suite 200

         Santa Rosa, CA 95403

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Credit repair company


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.24     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        3,683.54
         SBS Leasing A Program of De Lage Landen                      Contingent
                                                                      Unliquidated
         PO Box 41602                                                 Disputed

         Philadelphi, PA 19101

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Equipment leasing -
                                                                                                                      copier-printer
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.25     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                          552.01
         Security Solutions                                           Contingent
                                                                      Unliquidated
         10911 Bloomfield St                                          Disputed

         Los Alamitos, CA 90720

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Door repair company


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.26     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        158,207.87
         Sharp Business Systems                                       Contingent
                                                                      Unliquidated
         8670 Argent St                                               Disputed

         Santee, CA 92071

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      IT support services and
                                                                                                                      phone system
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.27     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                         14,091.02
         Streamline Performance Inc                                   Contingent
                                                                      Unliquidated
         1551 N Tustin, #555                                          Disputed

         Santa Ana, CA 92705

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Consultant

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.28     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      1,987.20
                                                                                                                  $
         Thomson Reuters                                              Contingent
                                                                      Unliquidated
         610 Opperman Drive                                           Disputed

         Eagen, MN 55123

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Online search engine
                                                                                                                      platform
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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              Name



3.29     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        18,343.43
         Twilio, Inc                                                  Contingent
                                                                      Unliquidated
         101 Spear Street                                             Disputed
         Suite 500

         San Francisco, CA 94105

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      SMS vendor for CRM


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.30     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                         9,125.00
         Nationwide Appearance Attorneys                              Contingent
                                                                      Unliquidated
         5737 Kanan Rd #628                                           Disputed

         Agoura Hills, CA 91301

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Appearance counsel -
                                                                                                                      1099 basis
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.31     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        52,095.81
         Executive Center LLC                                         Contingent
                                                                      Unliquidated
         5960 South Jones Blvd                                        Disputed

         Las Vegas, NV 89118

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Lease (abandoned) - Las
                                                                                                                      Vegas, NV
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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              Name



3.32     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        247,591.48
         Outsource Accelerator Ltd                                    Contingent
                                                                      Unliquidated
         City Marque Limited, Unit 8801-2                             Disputed
         Bldg 244-248 Des Voeux Rd
         Central Hong Kong




         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Offshore call center

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.33     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                        481,609.52
         TaskUs Holdings, Inc.                                        Contingent
                                                                      Unliquidated
         1650 Independence Dr                                         Disputed

         New Braunfels, TX 78132

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Offshore call center

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.34     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                   8,000,000.00
         Marich Bein LLC                                              Contingent
                                                                      Unliquidated
         99 Wall Street                                               Disputed
         Ste 2669

         New York, NY 10005

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Breach of Contract


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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              Name



3.35     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                   25,000,000.00
         Validation Partners LLC                                      Contingent
                                                                      Unliquidated
         1300 Sawgrass Pkwy                                           Disputed
         Ste 110

         Sunrise, FL 33323

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Breach of Contract


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.36     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                   36,810,655.64
         MC DVI Fund 1, LLC; MC DVI Fund 2, LLC                       Contingent
                                                                      Unliquidated
         1598 Cottonwood Dr                                           Disputed

         Glenview, IL 60026

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Breach of Contract

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.37     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                   65,385,489.44
         Debt Validation Fund II, LLC                                 Contingent
                                                                      Unliquidated
         5075 Lower Valley Road                                       Disputed

         Atglen, PA 19310

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Breach of Contract


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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              Name



3.38     Nonpriorit creditor s name and mailing address             As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                    $                        139,787.22
         Tustin Executive Center                                        Contingent
                                                                        Unliquidated
         1630 S Sunkist Steet                                           Disputed
         Ste A

         Anaheim, CA 92806

         Date or dates debt was incurred                            Basis for the claim:                                Description

                                                                                                                        Lease Dispute


         Last 4 digits of account number                            Is the claim subject to offset?
                                                                        No
                                                                        Yes



3.39     Nonpriorit creditor s name and mailing address             As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                    $                         28,000.00
         LexisNexus                                                     Contingent
                                                                        Unliquidated
         15500 B Rockfield Blvd                                         Disputed

         Irvine, CA 92618

         Date or dates debt was incurred                            Basis for the claim:                                Description

                                                                                                                        Breach of contract -
                                                                                                                        Online Research Platform
         Last 4 digits of account number    7028                    Is the claim subject to offset?
                                                                        No
                                                                        Yes



3.40     Nonpriorit creditor s name and mailing address             As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                    $                   1,400,000.00
         JP Morgan Chase                                                Contingent
                                                                        Unliquidated
         3 Park Plaza, Ste 900                                          Disputed

         Irvine, CA 92614

         Date or dates debt was incurred                            Basis for the claim:                                Description

                                                                                                                        Commercial orporate
                                                                                                                        credit card
         Last 4 digits of account number                            Is the claim subject to offset?
                                                                        No
                                                                        Yes




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              Name



3.41     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                   2,400,000.00
         Business Centers of America                                  Contingent
                                                                      Unliquidated
         1100 Sir Francis Drake Blvd                                  Disputed
         Ste 1

         Kentfield, CA 94904

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Receivable purchase -
                                                                                                                      unperfected
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.42     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Michael Schwartz                                             Contingent
                                                                      Unliquidated
         3968 Lowry Avenue                                            Disputed

         Cincinnati, OH 45229

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - See
                                                                                                                      SOFA #9
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.43     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Anibal Colon Jr                                              Contingent
                                                                      Unliquidated
         c/o Alexander Taylor, Esq.                                   Disputed
         Sulaiman Law Group Ltd
         2500 S. Highland Ave, Ste 200

         Lombard, IL 60148

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - SOFA
                                                                                                                      #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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              Name



3.44     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Kathleen Lacey                                               Contingent
                                                                      Unliquidated
         c/o David Chami, Esq.                                        Disputed
         Price Law Group
         8245 N. 85th Way

         Scottsdale, AZ 85258

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - SOFA
                                                                                                                      #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.45     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                        Unknown
         David Ulery                                                  Contingent
                                                                      Unliquidated
         c/o Joshua Eggnatz, Esq,                                     Disputed
         EGGNATZ | PASCUCCI
         7450 Griffin Road, Suite 230

         Davie, FL 33314

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - SOFA
                                                                                                                      #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.46     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Kimberly Birdsong                                            Contingent
                                                                      Unliquidated
         c/o Alexander J. Taylor, Esq.                                Disputed
         SULAIMANLAW GROUP
         2500 South Highland Ave
         Suite 200

         Lombard, IL 60148

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



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              Name



3.47     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Kevin Carpenter                                              Contingent
                                                                      Unliquidated
         c/o Alexander Taylor, Esq,                                   Disputed
         Sulaiman Law Group Ltd
         2500 S. Highland Ave, Ste 200

         Lombard, IL 60148

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.48     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                        Unknown
         Karen Suell                                                  Contingent
                                                                      Unliquidated
         c/o Nathan C. Volheim, Esq                                   Disputed
         Sulaiman Law Group
         2500 S. Highland Ave, Ste 200

         Lombard, IL 60148

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.49     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Gloria Eaton                                                 Contingent
                                                                      Unliquidated
         c/o Kris Skaar, Esq.                                         Disputed
         133 Mirramont Lake Dr.

         Woodstock, GA 30189

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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              Name



3.50     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Carolyn Beech                                                Contingent
                                                                      Unliquidated
         c/o Daniel Edelman, Esq.                                     Disputed
         20 South Clark St., Ste1500

         Chicago, IL 60603

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.51     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Debra Price                                                  Contingent
                                                                      Unliquidated
         c/o Robert Cocco                                             Disputed
         1500 Walnut St, Ste 900

         Philadelphia, PA 19102

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.52     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                    Unknown
                                                                                                                  $
         Kenneth Topp                                                 Contingent
                                                                      Unliquidated
         c/o Nathan Volheim, Esq                                      Disputed
         Sulaiman Law Group Ltd
         2500 S Highland Ave, Ste 200

         Lombard, IL 60148

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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              Name



3.53     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Darcy Williamson, Trustee                                    Contingent
                                                                      Unliquidated
         510 SW 10th                                                  Disputed

         Topeka, KS 66612

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.54     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                        Unknown
         James Hammett                                                Contingent
                                                                      Unliquidated
         c/o Jenna Dakraub                                            Disputed
         Price Law Group
         8245 N. 85th Way

         Scottsdale, AZ 85258

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.55     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Johnny RIzo                                                  Contingent
                                                                      Unliquidated
         c/o Bobby Walker, Esq.                                       Disputed
         Sulaiman Law Group
         2500 S. Highland Ave, Ste 200

         Lombard, IL 60148

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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              Name



3.56     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Beverly Graham                                               Contingent
                                                                      Unliquidated
         c/o Bobby Walker, Esq.                                       Disputed
         Sulaiman Law Group
         2500 S. Highland Ave, Ste 200

         Lombard, IL 60148

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.57     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                        Unknown
         Kathleen Scarlett                                            Contingent
                                                                      Unliquidated
         c/o Jeremiah Heck, Esq.                                      Disputed
         Luftman Heck & Assoc
         6253 Riverside Dr, Ste 200

         Dublin, OH 43017

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.58     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Geneve and Myranda Sheffield                                 Contingent
                                                                      Unliquidated
         c/o Jeremiah Heck, Esq                                       Disputed
         Luftman Heck & Assoc
         6253 Riverside Dr, Ste 200

         Dublin, OH 43017

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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Part 3:   List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are
      collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed,
      copy the next page.

                                                                      On which line in Part 1 or Part 2 is the         Last 4 digits of account
      Name and mailing address
                                                                      related creditor (if any) listed?                number




Part 4:   Total Amounts of the Priority and Nonpriority Unsecured Claims


5.    Add the amounts of priority and nonpriority unsecured claims.                             Total of claim amounts


5a.   Total claims from Part 1                                                     5a.           $                374,060.04



5b.   Total claims from Part 2                                                     5b.     +     $         141,439,158.05




5c.   Total of Parts 1 and 2                                                       5c.           $         141,813,218.09
      Lines 5a + 5b = 5c.




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Fill in this information to identify your case: 

Debtor Name      The Litigation Practice Group P.C.

United States Bankruptcy Court for the: Central District of California                                                                   Check if this is an
                                                                                                                                            amended filing
Case number (If known):                                                           Chapter    7




Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.
1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check hi bo and file hi form i h he co r i h he deb or o her ched le . There i no hing el e o repor on hi form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
          Form 206A/B).

                                                                                      State the name and mailing address for all other parties with whom
2.     List all contracts and unexpired leases
                                                                                      the debtor has an executory contract or unexpired lease

2.1    State what the contract or
                                             Debtor's office - this lease             Tustin Executive Center
       lease is for and the nature
       of the debtor s interest              will be rejected                         1630 S. Sunkist St., Ste A
                                                                                      Anaheim, CA 92806
       State the term remaining

       List the contract number of
       any government contract


2.2    State what the contract or
                                             Former office in Las Vegas               Executive Center LLC
       lease is for and the nature
       of the debtor s interest              - lease will be rejected.                5960 S. JOnes Blvd.
                                                                                      Las Vegas, NV 89118
       State the term remaining

       List the contract number of
       any government contract


2.3    State what the contract or
                                             See list of additional                   See attached list
       lease is for and the nature
       of the debtor s interest              executory contracts

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                                 page 1 of 1
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Fill in this information to identify your case: 

Debtor Name      The Litigation Practice Group P.C.

United States Bankruptcy Court for the: Central District of California                                                              Check if this is an
                                                                                                                                       amended filing
Case number (If known):




Official Form 206H
Schedule H: Your Codebtors                                                                                                                              12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.
1.    Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes
2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

      Column 1: Codebtor                                                                      Column 2: Creditor

                                                                                                                                 Check all schedules that
      Name and description            Mailing address                                         Name
                                                                                                                                 apply:




Official Form 206H                                              Schedule H: Your Codebtors                                                        page 1 of 1
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